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            EXHIBIT 1
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                                                       AGREEMENT

             AGREEMENT ("Agreement") made and entered into effective as of the 6th day of September
             2013 by and between, one the one hand GLENDON GROUP, INC. ("Glendon"), a corporation
             organized under the laws of the state of Delaware and its wholly-owned subsidiary BIDZ.COM,
             INC. ("Bidz"); and on the other hand LOS ANGELES JEWELRY PRODUCTIONS, INC.
             ("LAJ"), a corporation organized under the laws of the state of California.

             Glendon, Bidz and LAJ are sometimes hereinafter referred to collectively as the "Parties" or
             individually as "Party".

             When authorized representatives of all of the Parties have each executed this Agreement, the
             Parties shall have mutually agreed as follows:

                                                       WITNESSETH

             WHEREAS, LAJ has recently satis~t delivered to Glendon/Bidz inventory in an invoiced
             and agreed to amount of Two Millio Hundred Thousand Dollar~($2,800,369.18); and t...._                  _ , .,.
                                                                                   ~ l~ AtJC,T .lt.l~ '111/80
              WHEREAS Glendon/Bidz has prior to the aforesaid delivery, incurred a debt to LAJ for prior
              purchases of inventory satisfactorily delivered, in the amount of One Million ~Hundred ~
             ;[housand£ollars~.124,029.23); and                                              .1\.C..
  1~1=i:1l~J'           r~ ,~ "'"'.2.Vpe>
              WHEREAS notwithstanding any prior agreement(s) or billing arrangement(s) of any kind
              between the Parties, the Parties hereby wish to restate an Agreement between them to
              definitively set forth an anangement under which Olendon/Bidz shall make payments to LAJ
              hereunder, which shall constitute a complete and irrevocable novation, compromise, accord and
              satisfaction of any amount owing from Glendon/Bidz (or any of their "affiliates" as such term is
              hereinafter defined) to LAJ based on the mutual agreement hereby made that the total debt owing
              fl·om Glendon/Bidz t LAJ as o '        te hereof is fixed at recisely Three Million J!ilc,e..Hundred
.... _ .L.   ,Thousand Dollar 1($3,924,398,.4}) (hereinafter the "Debt").       a               Ml{e..
~~7~                     --r1-«~flu4- AJ~ ~                                     Yf/~etl
             NOW      THEREFOI~E,     the Parties hereby agree as follows:

                 1.    Glendon/Bidz shall pay the Debt to LAJ as follows: Concurrent with the execution
                      hereof, Glendon/Bidz shall deliver in hand to LAJ ten (1 0) post-dated checks in the
                      amount of Three Hundred Fifty Thousand Dollars ($392,439.84) each. Such checks shall
                      be respectively dated as follows: November 28, 2013, December 28, 2013, February 5,
                      2014, March 5, 2014, April 5, 2014, May 5, 2014, June 5, 2014, July 5, 2014, August 5,
                      2014 and September 5, 2014 (the "Checks"). There shall be no conditions precedent,
                      concurrent or subsequent to the negotiation and payment of each of the Checks and each
                      shall be backed by good and freely remittable funds on the dates LAJ presents each of the




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            Checks to their issuing bank(s). Payment of the Debt by the Checks shall fully liquidate
            and satisfy any debt or other amount owing from Glendon/Bidz and their Affiliates to
            LAJ and its Affiliates "in full''.

            For the sake of clarity, none of the merchandise which is the subject of this Agreement
            may be returned other than if the merchandise is defective. Defective merchandise may
            not be returned for o!Tset and can only be returned for the sake of being
            repaired/corrected or exchanged for like merchandise.

            lf for any reason any of the postdated checks do not clear as dated, Glendon/Bidz shall be
            obligated to pay a one-time fee of 2% of the uncleared amount plus interest calculated at
            the rate of 12% per annum until paid.

         2. Subject solely to the clearance of each of the Checks, the Parties hereby further agree
            that:

     By the Parties' mutual executions hereof the Parties hereby agree to release one another (and
     their respective Affiliates) and any party claiming under or though each of the Parties
     respectively, from any and all claims, demands, debts, damages, liabilities, suits, agreements and
     promises (referred to herein as "Claims"), in law or in equity, which either of us now have, have
     had or at any time may have against one another, whether or not they have been subject to
     dispute, were known or unknown, were suspected or tmsuspected, in connection with any matter
     whatever from the beginning of time to the date of this Agreement. As used herein the term
     "Affiliates" shall mean: each of the Parties and their respective (as applicable): heirs,
     successors, assigns. personal representatives, shareholders, members, officers, directors,
     employees, agents, consultants, attorneys, parent entities, subsidiary entities, operating divisions
     and any person, linn, corporation or other entity having legal or equitable interest in any of the
     Parties and/or a Party's Affiliates.

     All of the Parties expressly, knowingly, intelligently and voluntarily waive the benefit and
     effects of California Civil Code §1542 (or any similar, successor and/or amended statute), which
     provides in part that;
                             "A general release does not extend to claims which the
                            creditor docs not know or suspect to exist in his favor at
                            the time of executing the release, which, if known by
                            him, must have materially affected his settlement with
                            the debtor."

            All of the Parties collectively acknowledge, understand, agree and represent to one
            another that each of the Parties agrees that it has entered this Agreement to reflect a
            "good faith" settlement and resolution between them. This Agreement can only be
            modified, amended or discharged by a subsequent document signed by all of the Parties,
            specifically setting forth our collective and mutual intent to do so. T'his Agreement shall
            be binding upon and inure to and for the benetit of each of the Parties and their resp~ective /

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              (as applicable) heirs, personal representatives, assigns and successors. This Agreement
              shall be deemed to have been drafted by all of the Parties any claimed ambiguity shall be
              construed against Party alleged to have drafted the same. By the Parties executions hereof
              they represent to one another that each of the Parties understands the legal significance of
              signing this Agreement and that no Party has entered into this Agreement under any
              compulsion, threat or undue influence. This letter shall be interpreted in accordance with
              the laws of the State of California, applicable to agreements to be wholly performed
              therein.

          . 3. If litigation arises between the Parties in regards to this Agreement, the prevailing parties
               shall be entitled to recover reasonable attorney's fees and costs.




        WITNESS OUR HANDS set forth hereunto effective as of the date and year above first written.


                                                     GLENDON GROUP, INC.


        DATED:
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        DATED:~b'              '2.013                By: "'===>""'lt---=
                                                     its --"""'-""::::.....J""""'---



                                              LOS ANGELES JEWELRY




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    æ                               Los Angeles, CA 90067
                                5   Telephone: (310)229-9900
                                    Facsimile:    (310) 229-9901
                              6
                                    Attomeys for Plaintiffs Glendon Group,
                                                                                     D-b8
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                                    Inc, and Salus Capital Partners, LLC
                                                                                     N\0,*          V,                  l(lool€Y
                                                    SUPERIOR COURT FOR THE STATE OF CALIFORNIA
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                                                                 FOR THE COUNTY OF LOS,{NGELES
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                         lt         GLENDON GROUP, INC., a Delaware                        CASE NO.
                                                                                                                       80584852
                    ñ               corporation, and SALUS CAPITAL PARTNERS,
                    U
                         12         LLC, a Delaware limited liability company,
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     Jõ.ã                                                                                  COMPLAINT FOR:
     -Ø<å                l3                                           Plaintiffs,
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                                                                                           1. BR-EACH OF CONTRACT
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     <atÉ                                                                                  2, BREACH OFTHE COVENANT
     zal'
     e3.                 t5                                                                     OF'GOOÐ FAITH AND FAIR
                                    DAVID ZINBERG,     an individual, and LEON
     >ñ9
      o                             KUPERMAN, an individual,                                    DEALING
                    o
                         r6                                                                3.   FRAUD IN THE INDUCEMENT
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                         t7
                                                                .     Defendants.          4.   INTENTIONAL
                                                                                                INTERFERENCE WITH
                         l8                                                                     PROSPBCTIVB ECONOMIC
                                                                                                RBLATIONS
                         l9                                                               5.    NEGLIGEI\TINTER.FERENCE
                                                                                                WITI{ PROSPECTIVE
                        20                                                                      ECOI\OI\4TC RELATiONS
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                                                                                          6.    TOR.T'TOUS INTERFtrRE¡{Ctr
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                        I             Plaintiffs Glendon Group, Inc. ("Glendon") and Salus Capital Partners, LLC ("Salus,"

                        2   and together with Glendon,               "Plaintiffs") hereby allege      as   follows:

                        3                                                   NATURE OF THE CASE
                        4             l.          Glendon is     a   private equity company based in Los Aqgeles. In or around May,

                        5   2012, Glendon acquired online retailers Bidz.com, Inc. ("Bidz"), Modnique, Inc. ("Modnique")

                        6   and Modnique's wholly-owned subsidiary,                    Vivid Gemz, Inc. ("Vivid Gemz," and, collectively
                        7   with Bidz and Modnique, the "Bidz Companies"), all of which were founded and led by

                        8   Defendants David Zinberg("Zinberg") and l-eon Kuperman ("Kuperman") (together,

                        9   "Defendants"),

                   10                2.           Shortly after Glendon's acquisition of the Bidz Companies, in June, 2013,

               o   ll       Glendon and the Bidz Companies, on the one hand, and Salus, on the other hand, entered into a
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               u   \2       credit facility whereby Salus would provide an $18 million revolving line of credit based on the
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        JE"3       l3       inventory levels of Bidz and Modnique.
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        ÊÊa*t      14                3.           On or about March         17   , 2014, .Glendon, subj ect to Salus' approval, agreed to sell
        <1õP
        zãã-
        a?ø        15       its interest in Bidz back to Zinberg(the "Purchase Agreement"). Among other things, the
        >fr9   O
                   16       Purchase Agreement required Bidz to give up all of its inventory, which would be retained by
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                   t7       Glendon and Modnique. The inventory provision was a material term of the Purchase

                   18       Agreement, without which Salus would not have approved the Purchase Agreement.

                   l9                4.           Despite the clear provisions cf the Purchase Agreement                             -   executed and agreed to

                   2Q       by Zinbery- Zinberg and Kuperman engaged in outright self-dealing by orchestrating the return

                   2r       of some $5 million of Bidz's inventory to certain of Bidz's vendors,                                  ¡¿ol   to Modnique as required

                   22       by the Purchas Agreement. Piaintiffs are informed                    a,ncl   believe, ancl thereon allege, that Zinbery,

        l:l                 and I(uperman         did this, inter alia, to extinguish cefiain ¡rersonal guzuarrtees thcy had providecl to
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                   24       those i,endors.
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                   L)                5.           I)cfendants' contract and l-'rcluciai:y dutl' brcaches put inlo motion a series of
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                   26       events Jlom u4rich neithcr Glcndon nol' Salus l:a.r,e rec,ovcrecl. lrJamely, l)efenrlants' unlau,ful
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                                             o                                              o
                     I   to foreclose on all of the inventory of the Bidz Companies and, effectively, causing their

                 2       liquidation and extinguishing their entire value.

                 J               6.       Defendants should be made to pay for their intentional and unlawful actions.
                                                                  .l

                 4       Accordingly, Plaintiffs bring this suit against them for:    (l)   breach of contract; (2) fraud in the

                 5       inducement; (3) intentional interference with prospective economic relations; (4) negligent

                 6       interference with prospective economic relations; (5) tortious interference with contractual

                 7       relations; (6) breach offiduciary duty; (7) corporate waste; and (8) conversion:

                 8

                 9               7.GlendonisaDelawar"""*ffiitsprincipalplaceofbusinessinLos
                10       Angeles, California. At all times relevant herein, Glendon owned in whole and operated two

           o
           o
                ll       subsidiaries, Bidz and Modnique, Modnique itself having a wholly-owned subsidiary,               Vivid
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          0    t2        Gemz.
   "l'-H       13                L        Salus is a Delaware limited liability company with its principal place of business
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    -cuN       l4        in Needham, Massachusetts, Salus is primarily engaged in the business of commercial frnance
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    r.fPø      15        and asset management.
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               l6                9.       Plaintiifs are informed and believe, and thereon allege, that Zinberg is an
          N

               t7        individual who resides in Los Angeles, California. Zinberg is the founder of Bidz, and, at all

               l8        times relevant herein, served as the Chief Executive Officer ("CEO") of         Bidz. Upon Bidz's
               19        acquisition by Glendon , Zinberg became the single biggest shareholder in Glendon.

               20                10.      Plaintiffs are informed and believe, and thereon allege; that Kuperman is an

               2l        individual who resides in Los Angeles, Calif'omia. At all times relevairt herein, I(uperman

               22        selved as President and Chief Technology Officer of Birtz. Upon Bidz's acquisition by Glendon,

               23        I(uperman became the CEO of Glenrlon.
     ¡.Ji
               24                                          {u_nugu{ ÇJr q t'E-4NÐ_yp        ry   vÐ
     r.-       25                I   l.   .Turiscliction is proper in this Court as the amount in controvcrsy    well exceeds
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               26        $;2"5,000.00 and Bidz, Z,inberg, and Kuperma.n are located     in Califomia.

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                       I                 12.      Venue is proper in this Court because the causes of action arose in the County                          of
                       2   Los Angeles, because Bidz has its principal¡rlace of business therein, and because Zinberg and

                       J   Kuperman reside therein.

                       4                                                       RELEVANT FACTS
                       5                 13.      Both of Glendon's subsidiaries, Bidz and Modnique, as well as Modnique's

                       6   subsidiary (Vivid Gemz), were engaged primarily in the online sale ofjewelry, apparel,

                       7   housewares, andl/or other merchandise.

                       8                 14.      On or'about June27,20l3, Glendon, along with the Bidz Companies, entered into

                       9   a Credit Agreement             with Salus (the "Credit Agreement"), which provided for                  a revolving credit

                     l0    facility for the companies to operate. The credit facility was based cn the inventory levels of

           o         l1    Bidz and Modnique, rvith a maximum limit of $18 million, and was ôollateralized by the
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           U
        ê-:à         t2    collective assets of Glendon, Bidz and Modnique. Kuperman signed the Credit Agreement on
        Jõ3
        Jä"3         l3    behalf of both Glendon (as its CEO) and Biciz (as its President). Plaintiffs are informed and
        Ê)o--o
        -EuN
        6dJN         t4    believe, and thereon allege, that, as CEO of Bidz,Zinbergwas aware of the terms of the Credit
         i"-"-È
        zlÐJø¿1.'   l5     Agreement and, specifically, of the fact that the credit facility was based on the inventory levels
        >;g
         o
           o        l6     of Bidz and Modnique and collateralized by the collective assets of Glendon, Bidz and
           o
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                    17     Modnique. Neither Kuperman nor Zinberg rvere parties to the Credit Agreernent in their

                    18     individual capacities.

                    l9                   15.     In addition to obtaining the credit facility from Salus, in or around 2013, Glendon

                    20     sought to raise additional capital from institutional investors. On the advice of the financial

                    2l     professionals that Glendon retained as part of that process, Glendon determined to sell the

                    2.2    majority of its interest in Bidz.

                    23                   16.     Accc dingly, oll or about lr4e,ich 71,20I4, Gleudon, ßidz, li.4odnique ancl Zinberg
                    ')Á    etrtered into the Purchase Agreetnent y,'hereby Zinberg agreed to purchase frorn Glendon ail

                    /_5    o.rtstand"iitg shares of         fidz. hs pad cf the consiclc:lation for the salc, Ziirberg was required                  to

                    2.6    c'lr:live   l all of Iliclz's inventory,    r,aiuccl at e¡l1xo>;inrateh/ gìl 5   urijlion   arrcl listecl on Sohe.cJule   l\/ of
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                               1   the Pu¡chase Agreement, and Glendon would not have agreed to sell Bidz without the provision.

                              2    In retun for the transfer of Bidz's inventory to Modnique, Bidz would be relieved of its

                              J    obligations to Salus under the Credit Agreement. Because of this, the Purchase Agreement

                              4    required approval by Salus.

                              5              17.      Kuperman signed the Purchase Agreement as CEO of Glendon. Zinbergsigned

                              6    both on behalf of himself personally and as CEO of                 Bidz.                   ':




                              7              18.      Upon execution of the Purchase Agreement, Glendorr sought approval from Salus

                              8    After several weeks of negotiation, Salus, Glendon, Modnique, and'tsidz entered into an

                              9    agreement whereby Salus agreed to release Bidz from the Credit Agreement (thus releasing the

                          l0       Iiens on the Schedule       IV Inventory that were there          as a result   of the Credit Agreement) in

            o             ll       exchange for Glendon raising at least $5 million in new equity (the "Salus Approval").
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                          t2                 19.      Salus did, in fact, thereafter rçlease its liens on the Schedule               IV Inventory.
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                          l3                 20.      Shortly after the Salus Approval, Defendants, in violation of the Purchase
         r¿üoB
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                          t4       Agreement (not to mention the duties of care and loyalty they owed to Glendon and Bidz), took
        Trdi
        zQ&.'
        Í.lJø             t5       advantage of the faot that the Salus iiens no longer encumbered the Schedule                        IV lnventory, and
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         o
                          l6       caused the transfer of $5       mjllion worth of the Schedule IV Inventory to certain of Bidzls
            ö
                          t7       vendors. As a result of Defendants' actions, the entirety of the Schedule IV Inventory was not

                          l8       transferred to Modnique as was required by the Purchase Agreement.

                          l9                21.       Defendants undeftook the unlawful transfer of $5 million of the Schedule IV

                         20        Inventoïy to certain of Bidz's vendors in order to benefit themselves, to the detrirnent of

                         2t        Glendon. Plaintiffs are informed and believe, and thereon allege, that Defendants caused the

                         2?.       inventor¡, transfers to elirninate existing obligations that Bidz hacl to ccrrain vendors, r.vhich

          ,l:r           23        obligations were secu'j'ecl not only by         1he   inverrtory itsolf, but also blr pcrsonal guaraltees rnade
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                         24        by Zinberg and I(upe;:rnau. In other wolds, Zinberg and Kupennan sought to extinguisli their

                         25        own personal obligations þy tlansferiirrg the Soheduic                iV Inventory. indeecl,        I)efe4d;urts
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                         7-6       returned invcntor), on/.y to those vend,ors u'ith u4rorn iLinl:ergand I(upeinian uianted.to slay on

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                         I   the unlawful transfers also allowed Bidz's vendors to provide fresh inventory to Bidz, thus

                     2       enriching Bidz     -   and, in tum,,Defendants   -   et Glendon's detriment.

                                      22.     In addition to personally enriching themselves by avoiding personal obligations

                     4       made to Bidz's vendors, Zinbergand Kuperrnan's actions created an immediate breach of the

                     5       Credit Agreement, whichr as discussed above, was collateralized by the collective assets                     of
                     6       Glendon and the Bidz Companies, iricluding the Schedule IV Invehtory. The breach of the

                     7       Credit Agreement, inturn, had the effect of halting Glendon's efforts toraise capital, which

                     I       would have benefitted not only Glendon, but also its remaining subsidiaries

                     9                23.     In an attempt to address the breach of the Credit Agreement caused by

                    t0       Defendants, Glendon quickly negotiated two forbearance agreements with Salus, one dated May

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           o
                    ll       5,2014, titled the Forbearance and First Amendment Agreement (the "May 5 Agreement"), and
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                   12        another dated May 14,2014, titled the Second Amendment Agreement (the "May 14
     J     ã.9
     Èø<3          l3        Agreement"). As parties to the original Credit Agreement, the Bidz Companies were also parties
     l¡¡u-.q
     ma;i T        t4        to the forbearance agreements. Zinberg signed both forbearance agreements as CEO of Bidz.
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     Hiø           15                24.      In the May 5 Agreement, Salus re-affirmed its approval of the sale of Bidz to
     >ñ9
      o
           6       t6        Zinbergpursuant to the terms of the Purchase Agreement as long as Glendon raised an additional
           o

                   t7        $2 million in unencumbered cash equity, an amount that was increased to 52.2 million in the

                   l8        May   14 Agreement.

                   l9                25.      Thereafter, Glendon entered into a June 6,2014 agreement, which again approved

                   20        the sale of Bidz   To   Zin.berg pursuant to the terms of the Purchase Agreement as long as Glendon

                   2t        ananged for that additional $2.2 million in equity to be invested in Glendon (the "June 6

                   22        Approval Agreement'i). The June 6 Approval Agreement fur1her plovided that, if Zinbelg

         ,':i      ¿J        refuseci to honor the terms of the Purchase Agreement, Glendon woul<l allow Salus to concluct an
         ti.!
                   24        Assignment of Bidz's assets for the Benefit of Creditor.s ("ABC").

         r         25                26.      After being infonned of the Jrme 6 Approval Agreement, Zinberginformecl Salus

                   26        that he u,ould refuse to proceecl, uncJer fhe ter.rls of the Purchase Agreenient and wished to

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                                                             &                                                   o
                           1                  27.      Zinberg's refusal to proceed irnder the Purchase Agreement had his intended

                          )     effect, and forced Glendon to allow Salus to conduct the                     ABC. in addition,                on July 14,2074,

                          J     Salus issued a Notice            of Sale of Collateral uùder Section 9-601 of the Uniform Commercial
                          4     Code, which sale was cornpleted on July 24;2014 (the "UCC Sale").

                          5                   28.      Salus sold substantially       allof   the assets of Glendon, Modnique;and Bidz as                              a

                          6     result of the ABC and the UCC Sale.

                          7                                                    F'TRST CAUSE OF            ACTION
                          8                          (Breach of the Purchase Agreement                -   by Glendon against Zinberg)
                          9                  29.       Glendon incorporates by reference the allegations contained in Paragraphs I

                      10       through 29 above, as though fully set forth herein.

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           I
                      ll                     30.       On or about March 17,2014, Glendon and Zinberg entered in to the Purchase

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           U
                      t2        Agreement whereby Zinberg agreed to acquire all outstanding shares of Bidz from Glendon.
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    -q<3              13                     31.       Glendon has fully performed all conditions, covenants, obligations and promises
    Ê)üog
     ¡*3R             t4       required on its part to be performed in accordance with the terms of the Purchase Agreement,
    iëÉë
    z aã'
    rJ3ø              15       except insofar as Gler:don has been prevented or excused from having to perform such
    >rg    O
           o          t6       conditions, covenants,.obligations and promises by Zinberg's breach.es, or otherwise by
           N

                      t7       operation of law.

                      l8                     32.       Zinberg, on the other,,hand, has willfully defaulted on, or otherwise failed and

                     t9        refused to perfotm his obligations under, the Purchase Agreement. Specifrcally, Zinberg

                    20         breached the Purchase Agreementb5,, inter alia,causingthe transfer of a significant portion                                              of
                    2T         Bidz's Schedule IV Inventory to Bidz's vendors instead of Modnique,                                   as required under the

                    22         Prlrclias Agrcement.

         iî         23                       33.       7-inl erß' s   wlongful conduct alleged        he::c:in constitutes a materiai breach                    of the
         r.-J   i
                    24         Pulchase Agreemcnt.

         i..i       25                       34.       lis   a ciirect anr1 uroxir¡rate result   of Zinberg's material breaches of tlle Purchase
                    26         lrgrr:.ctttcut, Cìlendor; has sulTered encì v¡ill coutinu.c. to suffe¡: rìamages iu an alnount in cxcess                                    of
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                                                         &                                                                O
                            I                                               SECOND C.{USB OF ACTION

                          2                              (Breach of the Coyenant of Good Faith and Fair Ðealing                                              -
                          3                                                      by Glendon against Zinberg)

                          4               35.          Glendon incorporates by refe;ence the allegations cor,rtained in Paragraphs I

                          5     through 34 above, as though fully set forth herein.

                          6               36.         The Purchase Agreement expressly provides that "Bidz shall deliver to Modnique,

                          7     free and clear of all liens and encumbrances                    .,   . the Bidz Inventory listed on Schedule                               IV" of the
                          I     Purchase Agreement (i.e. the Schedule                    IV Inventory).
                          9               37.         As a matter of law, thq Purchase Agreement contains an implied covenant that

                      l0        Zínberg       will   act toward Glendon in good faith and fair dealing. The implied covenant imposes

               o      11        upon Zinberg the duty not to take any actions with the motive to, or that would, intentionally
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                      t2        frustrate Glendon's enjoyment of the rights and benefits under the Purchase Agreement.
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      jE"3            l3                  38.         Zinbergbreached the covenant of good faith and fair dealing implied in the
      f.¡ü..q
      -duñ
      ðdJN            t4        Purchase Agreement by acting in bad faith and with a motive to intentionally frustrate Glendon's
      <aüÉ
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      HCø             l5              oyment of its rights under the Agreement
                                enj                                                             by ,      inter alia, causing a substantial portion of the
      >ã9
       o
                      16        Schedule       IV Inventory to be transferred to Bidz's vendors in order to extinguish Zinberg's
              a
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                      17        personal obligations to those vendors.and, in turn, causing the immediate breach of the Credit

                      l8        Agreement to which Bidz was apafty.

                      r9                  39.         As a direct and proximate result of Zinberg's conduct, Glendon has suffered and

                      20        continues to suffer damages in an arnount in excess of the jurisdictional minimum of this Court,

                      21        which will be proven at trial.
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                     23                               (Frericl in the    l:l'icì.urcr¿rncnÉ   rclaúing fo       l-i-le   Purcl¡:,se /,;.flrce!'iletlt            -
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                     24                                                          b), GÌendo¡r against ZÍnberg)

          f          25                  t0.          Glendon incorpora,tes-by r:elleience thc allegations coritaincci in Para-graphs                                             1

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                     26         through lj9 abor¡e,       z's   though           set f'orth helein

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                                                    Ð                                           o
                            I   entering into and executing the Purchase Agreemenl,Zinbergmade a material representation to

                        2       Glendon lhat, inter alia,he would cause Bidz to transfer the Schedule IV Inventory to Modnique,

                        J       Glendon's wholly-owned subsidiary,'free anC clear of all liens and encumbrances. Absent this

                        4       representation, Glendon would not have agreed to sell Bidz to Zinberg.

                        5                42.     At the time Zinberg niade thepromise to tranJfer.the Schedule IV Inventory to

                        6       Modnique, Zinberg did not intend to fulfil that promise and secretly harbored the intent to

                        7       transfer a significant portion of the Schedule',IV Inventory to Bidz's vendors. Specifically,

                        I       Zinbergsought to extinguish his own:personal guarantees (and those of Kuperman) to certain                          of
                        9       Bidz's vendors by retuming a portion of the Schedule IV Inventory to them.

                   t0                    43.     Zinberg intended to induce Glendon, in reliance on his material misrepresentation

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             o
                   ll           and omission, to enter into the Purchase Agreement and to seek Salus' approval of the Purchase
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            u      t2           Agreement.
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    Jã"3           l3                    44.     Glendon reasonably and justifiable relied on the false representations and material
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    c0<lr          l4           omissions made by Zinberg, its single largesf shareholder, by entering into the Purchase
    <.ög
    zA=o'
    l.¡Pø          t5           Agreement and by seeking and obtaining Salus' approval of the Purchase Agreement.
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                   l6                   45.      Salus' approval and its subsequent release ofthe Salus liens on the Schedule IV
            N

                   t7           Inventory allowed Zinbergto complete his fraudulent scheme and tra.nsfer a significant portion

                   l8           of the Schedule IV Inventory to Bidz's venclcrs instead of to Modnique. Zinberg undertook the

                   l9           unlawful transfer in order to benefit himself to the detriment of Glenrjon

                  20                     46.     As a direct and proximate result of Zinberg's fraud, Glendon has been damaged

                  2t            by, among other things, the complete destruction of its relationship with Salus and the loss of its
                  ,>.)
                                business. Glendon's damages are ongoing and the sum of those damages are not yet fi.rlly

        ,-:r      23            ascertained, but rvill be ¡rroven at trial.

                  24                    !,7.    Zinberg's secret plan was premeditatecl and carriecl out with callous disregard for

        i.-       ,(            its cler¡astating effect on Glcndon, and was undertalcen in a willful, wanton, malicious                 ancl
        ¡'-r
                  ¿o            opirressive manner and u,ith the inteni to cleÊaucl Glendon, entitling Gienclon to exern¡llary and

        Li        ^)   'l       punitive damagcs.
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                                                  &                                                             o
                     I                                                  FOURTH CAUSE OF'ACTION
                   2                          (Intentional Interference with Prosþective Economic Relations                                        -
                   J                                                         y Salus against Defendants)

                   4                 48.       Salus incorporates by reference the allegations contained in Paragraphs                                      I through
                   5     47 above, as though           fully   set   forth herein.      ,




                   6                 49.       Salus had an existing economic relationship with Glendon, as eviden cedby, inter

                   7     alia, lhe Credit Agreement.

                   8                50,       There existed a probability of future economic benefit for Salus from its business

                   9     relationship with Glendon, as evidenced by Salus' approval of the Purchase Agreement and by

                l0       the June 6 Approval Agreement, which would have been economically beneficial to Salus (as

        o
        o
                ll       well as to Glendon).
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        u       t2               . 51.        As CEC of Bidz and the singie largest shareholder of Glendon, Zinbergknew                                               of
    Jõ8
    ' -o
    )'q48       13       the existing and potential future econqmic relationship between falus and Glendon, and was
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    -guN
    ðdJN        14       fully avrare of the existence of the Credit Agreement                        as   well as the June 6 Approval Agreement.
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    z a?.'
    là!ø        t5                  52.       As CFO of.Glendon and President of Bidz, Kupermaä knew of the existing and
    >r:
        o       t6       potential future relationship between Salus and Glendon, In fact, Kuperman signed the Credit
        o

                l7       Agreement with Salus in his capacity as an ofhcer of Glendon and Bidz.

                18                  53.       Defendants engaged in the conduct alleged in Paragraphs                                2l   through 23 above

                l9       with the intent to interfere with and/or destrcy the economically-advantageous relationship

               20        between Salus, on the one hand, and Glendon, on the other hand, and to make those relationships

               2l        less financially lucrative for Salus. Defendants' conduct was independently wrongful because,

               L¿        among other things, Jlefendants cngagcd in 'eheft and/or conversion of a significant portion of tire

      t'l      /-J       Schedule      IV Inventoly (thereby causing                 a lxeach of the Purchase Agrec,ment) a.nd bleached the

               24        fiduciary duties of        ca,re and    loyalty they owed to Glendon.

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               /- -)                54.       Zínbery and l{upenlâlì's conduc.t oauserl an actual disruptioir of the business

               ?.6       relafion-ship bctivccrt Slalus and Glcnclon, in ihat                   S¿,:lus   u'as reouiled 1o sell substaritially all               of
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                     I                 55.      As a ditect and proximate result of Zinberg's and Kuperman's wrongfulconduct,

                  2      Salus h'as suffered ancl continues to suffer damages in an amount in excess of the jurisdictional

                  J      minimums of this Couft, which will be determined at trial.

                  4                    56.      The conduct of Zinberg and Kuperman as alleged herein was purposeful and

                  5      intentional, and was engaged in for the purpose of depriving Salus of property or legal rights or

                  6      otherwise causing injury, and was undertaken in a willful, wanton, malicious and oppressive

                  7      manner, entitling Salus to exemplary and pturitive damages,

                  I                                                      FIFTH CA:USE OF ACTION
                  9                                 (Negligent Interference rvith Prospective Economic Relations                                      -
                10                                                        by Salus against Defendants)

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                lt                     57.      Salus incorporates by reference the allegations contained in Palagraphs                                           I through
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    ê.:à
          U
                I2       56 above, as though              fully   set forth herein.
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    -¡'¿<3      l3                     58,      Salus had an existing economic relationship with Glendon, as eviden cedby, inter
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    ö?JN        T4       alia, lhe Credit Agreement,
    ì1üÉ
    ZQâ,.
    L) t-ø      l5                     59.      There existed a probability of future economic benefit for Salus from its business
    >;e
          o    l6        relationship with Glendon, as evidenced by Salus' approval of the Purchase Agreement and by
          o

               17        the June 6 Approval Agreement, which would have been economically beneficial to Salus (as

               l8        well    as   to Glendon)

               l9                     ó0.       As CEO of Bidz and the single largest shareholder of Glendon, Zinbergknew of

               20        the existing and potenlial future economic rqlationship between Salus and Glendon, ancl was

               2l        fully avrare of the existence of the Credit Agi:eement                   as   well    as the June 6             Approval Agreement.
               ))                     61.       As CEO of Glendon ancl Plesiclent of Biclz, I(uperrnan i<new of fhe cxisting ard

     iTj       23        poicntial future relationship betweeri Sah¡s ancl Gienclon. In fa.ct, )1.,1ìperilìân signed the Credit

               24        Agreement rvith sahrs in his capacity. as an qfficer of Giendon and Biclz.
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     -"          -)
               ,/-                    62.      Zinberg and l(uperman           aotccJ   negligently in transrtlr:ing a signifìcant poition                                 of
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               2.6       the Sclti:clule      I\/   Invcntor), to Ì,liclz's',,erld.ors, rathcr than to ltzloclnique, in                 th¿¡f    fhey eaoh failcd to
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                                                o                                                    o
                         I            63.     Zinbergand Kuperman:s negiigence caused foreseeable damages to Salus, in that

                        2    the practical effect of Zinberg and Kuperman's negligence was the destruction of the existing

                        J    and potential future business relationship between Salus and Glendon

                        4             64.     Salus has been and continueS to be harmed economically by Defendants'

                        5    wrongf,tl conduct as alleged herein, in that it lost the ecoàomic benefrts of its ongoing and

                        6    potential futuie business relationship with Glendon.

                        7            65.     Defendants' wrongful conduct as alleged herein \ /as a substantial factor in

                        I    causing the destruction of Salus' ongoing and potential future business relationship with

                        9    Glendon.

                   10                 66.    As a direct and proximate result of Zinberg's and Kuperman's wrongfulconduct,

             o     ll        Salus has suffered and continues to suffer daanages in an amount in excess of the jurisdictional
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             U
             Lr    t2        minimums of this Court, which will be determined at trial.
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    ,-¡b<3
     - -'o
                   13                                              SIXTH CAUSE OF ACTION
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    -duN
    ödJN           l4          (trntentional Interference with Contractual Relations relating to the Credit Agreement                                    -
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    zQ?.*
    lÀ !.ø         15                                               by Salus against Defendants)
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             o
                   l6                67.     Salus incorporates by reference the allegations contained ín Paragraphs                          I through
             N

                   l7        66 above, as though   fully   set forth herein.

                   l8                ó8.     On or about     lune27,20l3, Glendon entered into a valid                 and binding Credit

                  t9         Agreement with    Salus..

                  20
                                     'Oq,    As CEO of Bidz and the single largest shareholder of Glendon, Zinbergknew of

                  2t         the Credit Agreement and the fact that the credit facility provided by Salus was based on Bidz's

                  2,2        and Mcdnique's inventory levels and was collateralized by the collective assets of Glenclon, Bidz

                             and lr4cdnique. Indeed, the Credit Agreernent was specifìcally referenced in the Purchase
        rÌ":
                  24         Agreement executed by Zinberywhgreby Zinbergagreed to acquire Bidz from Glendon.

        ii        25
                                     ,/0.    As CEO of Glendon ancl President of Bidz, I(uperman also l.¡rew of the Credit

                  26         A.greement ancl the fact that the creclit. feciiity providecl by Salus u,as based on Biclz's ancl

                  zt         Moclniqttc's inventory levels    a.ncl r.r,as   collateralizecl by the collective assets of Clcnclon, Bidz ancl
                  ,)ç,
                  L<'        lv4oclnique. Itr fact,l(t4rennau signed the Clcclit "/rgrccment on bdraJf of Glenclon and ìJiclz,


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                              I                  7l,            Defencl.ants' unlawful transfer of a significant portion of the Schedule                            IV
                          2        Inventory to Bidz's vendors, in violation of the Purchase Agreement, disrupted the contractual

                          3        relationship between Salus and Glendon by causing an immediate breach of the Credit

                          4       Agreement between Glendon and Salus.

                          5                      72,           In light of Defendants knowledge of the Credit Agreement and the fact that the

                          6       credit facility providect by Salus was based on Bidz's and Modnique's inventory levels and was

                          7       collateralized by the collective assets of Glendon, Bidz and Modnique, Salus is infbrmed and

                          8       believes, and thereon alleges, that Defendants engaged in the conduct alleged herein with the

                          9       intent to harm Salus financially and to induce Glendon to breach the Credit Agreement and/or

                       l0         make the contractual relationship between SaÌus and Glendon less financially lucrative to Salus.

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            o
                       ll                        73,           As a direct and proximate result of Defendants' wrongful actions, Salus has
            ñ
            U
                       t2         suffered and continueS to suffer damages in an amount in excess of the jurisdictional minimums
    ê.:à
    J..H
    '{b<3              l3         of this Court, which will be determined at trial.
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                       t4                        74.           The conduct of Zinberg and Kuperman as alleged herein was purposeful and
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                       15         intentional, and was engaged in for the purpose of depriving Salus of property or legal rights or
     o
                       16         otherwise causing injury, and was underlaken in a willful, wanton, malicious and oppressive
            o

                       T7         manner, entitling Salus to exemplary and punitive damages.

                       l8                                                       SEVENTH CAUSE OF ACTTOT{
                       t9                                           (Breach of Fiduciary    - by Glendon against Defendants)
                      20                 .   7   5.            Glendon incorporates by reference the allegations contained in Paragraphs I

                      21          through 74 above, as though fully set forth herein

                      22                     16.               At all tirnes relevant hercin, fhere existecl    a confìdential and           fiduciary relatiorrship

         ,;¡          /--)        betu,eeu Glendon on the one hanci and Zinbeig and Kuperman on the other.
         ,:I'         11.                    77       .        Ztnberg, as the lalgest shareholder of Glendon and as CEO of Glendon's wholly

                      /)          or'¡ned subsidiar¡, (Biclz), owecl Íiciuciary clulies of loya.lty ancl care to Glenclon, such.that, arnong
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                      ,/.1)       othel tliings, he rvas noÍ pernritted to benefit hin-rself b), intenfiona,lly causing Glenclon to breach

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                           I              78.         Kuperman, as CEO of Glendon, owed fiduciary duties of loyalty and care to

                           2   Glendon, such that, among other things, he'itas not permitted to benefit himself by intentionally

                           J   causing Glendon to breach the Credit,Agreôment.

                          4               79.         Zinberg and Kuperman breached the fiduciary duties they owed to Glendon by,

                           5   inler alia, transferring a significant portion of the Sohedule IV Inventory to certain of Bidz's

                          6    vendors for their own benefit, thereby causing Glendon to breach the Credit Agreement and, as

                          7    to Zinberg, by later refusing to abide by the ferms of the Purchase Agreement, which led to the

                          8    ABC and the UCC Sale.

                          9               80.         As a direct and proximate result of Defendants' fiduciary duty breaches, Glendon

                       l0      has suffered and         willcontinue to suffer damages in an amount in excess of the jurisdictional

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            ô
                       ll      minimums of this Court, which will be detennined at trial.
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                       t2                 8l   .      The conduct of Zinberg and K^uperman as alleged herein was purposeful and
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      IF
                       13      intentional, and was engaged in for the purpose of depriving Salus of property or legal rights or
     r.¡Éo3
      tYØ¡i¡
     ÊôãJN             l4      otherwise causing injury, and was undertaken in a willful, wanton, malicious and oppressive
    <1üË
    zQ3.'
    A--ø               15      manner, entitling Glendon to exemplary and punitive damages
    >õ9
     o
           o           l6                                                         EIGHTH CAUSE OF'ACTION
           o

                       T7                                      (Corporate Waste              -   by Glendon against Defendants)

                       t8                 82.         Glendon incorporates by reference the allegations contained in Paragraphs I

                       l9      through     8l      above, as though            fully   set forth herein.

                      20                  83.         Zínberg and Kuperman caused Glendon to waste valuable corporate assets by

                      2t       transferring to certain of Bidz's vendors a significant portion of the Schedule IV Inventory

                      22       (propcrty which belongerl to Glcnclon through Moclnique), as a rncans to satisfy obli¡¡ations ovrcd

       í.i            23       by Ì.ìiciz to its venclors, obligations wiricll Ziribetgaucl )(upelu:air                                       hac!     pelsonally guaranteed.

                      ?"4                 84.         'fhat transfer was an exchange of corporate assets fbr value so disproportionately

       i'-i:          2.5      srrrall as to lie belov¿ the rangc at r'¡hich arry r:easonable person might bc u'illing to tlade.
       It. i
                      2-,6               85.          Furthe¡, the fransfer of a sigr:ìficant                por.f   ion o1'the Schc:clulc                          I\¡ Inye¡tor),           ciicl not

       I   .-¡        ?.7      rcÍlcci a fair c;,lch¿in¡¡c foi Cilc.nclon,              lioc¡r.r.rsc Glcncìon cìici      not r"er:ivi: ihc: LLenefìt oithat o>lchange
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          Case       2:19-cv-07833-SVW-JEM Document 17-1 Filed 10/10/19 Page 20 of 45 Page ID
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                                               Ð                                             o
                      I               86.   By reason of the foregoing, Glendon has been damaged and will continue to be

                     2    damaged in an amount in excess of the jwisdictional minimums of this Court, which                                will   be

                     3    determined at trial.

                     4                                         NINTH.CAUSE OF ACTION
                     5                                (Conversion   - by Glendon against        Defendants)

                     6            87.       Glendon incorporates by reference the allegations contained in Paragraphs I

                     7    through 86 above, as though fully set forth herein

                     I            88,       Glendon, through its subsidiary Modnique, owned and had a right to possess the

                     9    entirety of the Schedule IV Inventory at the time of Defendants' conversion.

                l0                89.       Defendants intentionally and substantially interfered with Glendon's property

           o
           o
                ll        rights by transferring a significant portion of the Schedule IV Inventory to Bidz's vendors
           ñ
           u    t2        without Glendon's consent.
    ô.:à
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    jõ"8        l3                90.       Glendon was harmed by the transfer of the Schedule IV Inventory because it was
    l¡öoE
     rvØ¡ir
    irfi3       14        deprived of the fullvalue of that Schedule IV Inventory, and because Defendants'conduct

    a5i
    >fr9
                l5        resulted in Glendon's breach of the Credit Agreement and subsequent sale of substantially all                                 of
      o
                t6        Glendon's assets.
           o

               t7                 91.       As a direct and proximate result of Defendants' actions, as alleged herein,

               18         Glendon has suffered and      will continue to suffer damages in an amount in                excess of the

               l9         jurisdictional minimums of this Court,,which will be determined at trial.

               20                 92.       The conduct of Defendants as alleged herein was puþoseful and intentional, and

               2L         was engaged in for the purpose of depriving Salus of ptoperty or Legal rights or otherwise

               22         causing injury, ancl u,as undertaken in a   willful, wanton, malicious and opprcssive manrer,
               ,.)1
     i'!       ¿,J        entitling Glendon to exemplary and punitive damages.

               24                                                FRAVER. FÛR i¿ET,TÐF'

               25                 WHllREFOllE, Plaintiffs pray for and request rclief         as follor¡,s:

               ¿li
               ^t                 I   .     On the first cartse of action, fhat the Courl find that Zinberg materialll' breached

               27         the Purchase Agre euent, and that Glel.don is, tlicreforc, entitled to actual a.nd conrpcnsatory
     ¡.i
               1o         cìamagcs in an alnount to be determined at trial;


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           Case          2:19-cv-07833-SVW-JEM Document 17-1 Filed 10/10/19 Page 21 of 45 Page ID
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                                                   @                                                   o
                         I             2.       On the second cause of action, that the Court find that Zinberybreached the

                     2        covenant of good faith and fair dealir,g present in the Purchase Agreement, and that Glendon is,

                     J       therefore, entitled to actual and compensatory damages in amount to be determined at trial;

                     4                 3.       On the third cause of action, that the Court find that Zinberg fraudulently induced

                     5       Glendon to enter the Purchase Agreement, and that Glendon is. therefore, entitled to actual,

                     6       compensatory, and punitive damages in an amount to be determined at trial;

                     7                 4.       On the fourth cause of action, that the.Court find that Zinberg and Kuperman

                     8       intentionally interfered with Salus'prospective economic relations with Glendon, and that Salus

                     I       is, therefore, entitled to actual, compensatory, and punitive damages in an amount to be

                   10        determined at trial;

               o   11                  5,       On the fifth cause of action, that the Court find ihat Zinberg and Kuperman
               ñ
               U
                   t2        negligently interfered with Salus' prospective economic relations with Glendon, and that Salus
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    ¡ä"C           l3        is, therefore, entitled to actual and compensatory damages in an amount to be determined at trial;
    ¡¡öoB
     -daN
     órJN          T4                  6.       On the sixth cause of action, that the Court find that Zinberg and Kuperman
     <1öË
     z Q3.-
                   l5        intentionally interfered with the Credit Agreernent, and that Salus is, therefore, entitled to actual,
    >he
     o
                   l6        compensatory, and punitive damages in an amount to be determined at trial;
               0

                   17             '    7   .    On the seventh cause of action, that the Court find that Zinberg and Kuperman

                   l8        breached their fiduciary duty to Glendon, and that Glendon is, therefore, entitled to actual,

                   l9        compensatory, exemplary, and punitive damages in an amount to be determined at trial;

                   20                 8,       . On the   eighth cause of action, that the Court find that Zinbergand Kuperman

                   2l        committed corporate r.vaste of Glendon's assets, and that Glendon is, therefore, entitled to actual
                   1a
                   L/-       and compensatory damages in an aurount to be cletemined at trial;

     r::i          23                 g.        On tlie ninth cause of action, that the Courl fincl that Defendants converied

                   74        Glendolr's propefiy, and that Glendoi'r is, therefore, eutitled to actual, compensatory, and punitive

                   25        darnages in an anormt to be determinecJ at trial;

                   ?,6                10.       On all zrpplicablc causes of a.ction, thatPlaintiffs arc cnlitled to an au,ard of pre-

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          Case             2:19-cv-07833-SVW-JEM Document 17-1 Filed 10/10/19 Page 22 of 45 Page ID
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                                                 &                                             t
                           I           11.     That Plaintiffs are entitled to an award of attorneys' fees and costs associated with

                       2       the Iitigation; and

                       3               12.     For such other and further relief as the Court deems just and proper.

                       4        Dated: June 12,2015                          VENABLE LLP
                                                                             Alex M. Weingarten
                       5                                                     Micol S. Green
                                                                             Matthew M. Gurvitz
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                                                                             By:
                                                                                     Alex M. WeingãrtYn
                       9                                                             Attorneys for Plaintiffs Glendon Group, Inc.
                                                                                     and Salus Capital Partners, LLC
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          Case       2:19-cv-07833-SVW-JEM Document 17-1 Filed 10/10/19 Page 23 of 45 Page ID
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                                       o                                                Ð

                     I                                 DEMAND FOR JURY TRTAL
                   2          Plaintiffs hereby demand a trial by jury

                   J     Dated: June 12,2015                       VENABLE LLP
                                                                   Alex M. Weingarten
                   4                                               Micol S. Green
                                                                   Matthew M. Gurvitz
                   5

                   6                                               By:
                   7
                                                                              Aftorneys for Plaintiffs Glendon Group, Inc
                   I                                                          and Salus Capital Partners, LLC
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          Case                           2:19-cv-07833-SVW-JEM Document 17-1 Filed 10/10/19 Page 24 of 45 Page ID
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                                                                                                                                                                                                                           cM-010
                                  OR PARTY WITHOUT ATTORNËY INañs,                    numbeL and addess):                                                                       FOR COUÂT USE O¡.ILY
             Alex M. Weingarten (SBN 20441                                            icolS. Green (SBN 245659)                                          )
              VENABLE LLP
          2049 Century Park East, Suite 2100, Los Angeles, CA 90067
          amweingarten@venable. com ;msgreen@venable.com
             TELEeHoNENo,: (310)                                         229-9901
                                                      rnxruo.' (310) 229-9901
                                                                                                                                                                                FILbD
       ATTORNÊY FOR        Plaintitfs Glendon Grou lnc. Salus Ca        Partners LLC                                                                         iupsfl or cQuÉ of callbrnla
      SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES                                                                                                      rìor       rnhr nf I ns Annples
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               MAILING ADDRESS:                                                                                                                                            JUN        I 2 2015
               crryANDzrpcoDE,                                   Los Angeles, 90012
                                                                                                                                                             ùhãrilL                                 U¡ù0€rCüür
                         STANLEY MOSK COURTHOUSE
                             BR,ANcH            NAME:

            CASE NAME:GLENDON GROUP, lNC., et al., v. DAVID ZINBERG, et al


                             CIVIL CASE COVER SHEET                                               Complex Case Designation                                cAsÊ

       X unlimited n                         Limited
                                                                                                                                                                                                                      2
         (Amount                   (Amount                                        Joinder    !       counter E
         demanded                 demanded is          Filed with f¡rst appearance by defendant
                                                                                                    JUDGE:

             exceeds               $25 000 or                    Rules of Cou rule 3                 DEPT:

                                         Items 1-6 below must be                               on
      1 . Check one box below for the case type that best describes this case

          Auto                 Tort                  Contract                               Provisionally Complex Civil Litigation
             f, Aulo (22)                                                               ¡
                                                            Breach of contracuwananty (06)  (ca L Rules of Court, rules 3.40(Þ3.403)
             !                   Uninsured motor¡st (46)                                n         Rule 3.740 collections (09)                     D     Antitrust/Trade regulation (03)
             Other PI/PDMD   (Personal lnjury/Property                                  !         Other collections (09)                          n
                                                                                                                                                  n
                                                                                                                                                         Construction defect           (1   0)
             Da mageMrongful Death) Tort
                                                                                        ¡         lnsurance coverage          (1   8)                    Mass tort (40)
                  Asbestos (04)
                                                                                        n         Other contract (37)                             D      Securities litigation (28)
                  Product liability (24)                                                Real     P roperty                                        n     Environmental/Toxic torl (30)
                                 Medical malpractice (45)
                   Other Pl/PD/!VD (23)
                                                                                        n         Eminent domain/lnverse
                                                                                                  condemnation (14)
                                                                                                                                                  n     lnsurance coverage claims arising from the
                                                                                                                                                        above listed provisionally complex case
             Non-Pl/PD/WD (Other) Tort                                                            Wrongful eviction (33)                                types (41)
                                                                                                                                                  Enforcement of Judgment
             X                   Business torUunfair business pract¡ce (07)                       Other real property (26)
             n                   civit rights (08)                                      Unlawful Detainer                                         n     Enforcement of judgment (20)
                                                                                                                                                  Miscellaneous Civil Gomplaint
             I                   Defamation (13)                                        X         Commercial (31)
             f,                  Fraud (16)                                             n         Residential (32)                                I     Rrco (27)
             n                   lntellectual property (19)                             n         Drugs (38)                                      I     Other complaint (not spec¡f¡ed above) (421
                                                                                                                                                  Miscellaneous Civil Petit¡on
             n                   Professional negligence (25)                           Judicial Review
             n                                                                          T         Asset forfe¡ture (05)                           ü     Parlnership and corporate governânce (21)
             Employment
                                 Other non-Pl/PD/WD tort (35)
                                                                                        !         Petition re: arbitration award         (1 1)    f     Other petition (not specified above) (43)
             n                  Wrongful termination (36)                               ü         Writ of mandate (02)
                                Other                               nt   1              T         Other judicial review (39)
      2.     This case         Ìs X is not complex under rule 3.400 of the California Rules of Court. lf the case is co mplex, mark the
             factors requiring exceptional judicial managementi
             a.              n            Large number of separately represented parties                        d.I           Large number of witnesses
             b.              u            Extensive motion practice raising difficult or novel                  e,I           Coordination with related actions pending in one or more courts
                                          issues that will be time-consuming to resolve                                       in olher counties, states, or counlries, or in a federal court
         c. tr                            Substantial amount of documentary evidence                            fE            Substantial postjudgment judicial supervision
      3. Remedies sought (check alt that appty): a, ffi monetary b. I nonmonetary;                                                          declaratory or injunctive relief                         c.   fil   punitive
      4. Numirer of causes of action (specify):13
      5. This ca"qe n ¡. ffi is not â class action suit.
    ilp, lf there are any l<nown related cases, lile and serve a notice of related case.                                                         may                 cM-015.)
    *Date: June 12,2015
     -Alex M.                  Weinoarten                                                                                     I'
                                                                                                                                                                                             FOR

                                                                                                                r{c}Ttfi:
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              uncjc¡ the Probate Code, [:anrily Codc, or !\/elfa re and Insf itutiorrs Code). (Cal. Rules of Court, rule 3.220.) Failure lo fìle may result
             in sanctions.
        ,    f
               :ilc this c;or,,er ll-rcr:t in nriditi¡rn to ;lny covcr s;hcct rcrluired tLy local c;ouri rule.
        ''   lí this caso is conrplex unclcr rLlle lJ.¿r00 ct seq. of tlrc Califcimia RLrles of Court, you r¡rur;t serue                                         ar   copy of this cover sheet on all
             r;ihcr pi:rtics to tl)c action or proccecìine.

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                                                                                                    ro coMpLErE rr=
         To Plaintiffs and Others Filing First Papers. lf you are filing a first paper (for exampte, a complaint) in                                                    a civil case, you must
         complete and file, along with your first paper, the Civìl Case Cover Sheet contained on page 1. This information will be used to compile
         statistics about lhe types and numbers of cases fìled. You must complete items 1 through 6 on the sheet. ln item 1, you must check
         one box for lhe case type that best describes the case. lf the case fits bolh a general and a more specifìc type of case-listed in item l,
         check the more specific one. lf the case has multiple causes of action, check the box that best indicates the primary cause of aclion.
         To assist you in completing the sheet, examples of lhe cases that belong under each case type in item 1 are provided below. A cover
         sheet must be fìled only with your initial paper. Failure lo fìle a cover sheet with the first paper filed in a civil case may subject a party,
         its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
         To Parties in Rule 3.740 Collections Cases, A "collections case" under rule 3,740 is defined as an aclion for recovery of money
         owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a kansaction in
         which propedy, services, or money was acquired on credit. A collections case does not include an action seeking the following: (l) tort
         damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
         attachment. The identifìcation of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
         time-for-service requirements and case management rules, unless a defendant fìles a responsive pleading. A ruie 3.740 collections
         case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
         To Parties in Complex Cases. ln complex cases only, parties must also use lhe Civil Case Cover Sheef to designate whether the
         case is complex. lf a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
         completing the appropriate boxes in items 1 and 2. lf a plaintiff designales a case as complex, lhe cover sheet musl be served with the
         complaint on all part¡es to lhe action. A defendant may fìle and serve no later than the time of its first appearance a joinder in the
         plaintiff s designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
         the case is complex.
                                                                   CASE WPES AND EXAMPLES
         Auto      Tort                                       contract                                        Provisionâlly Complex Civil Litigation (Cal.
                Auto (22)-Personal  lnjury/Properly                Breach of Contract/Warranty             (06)                                  Rules of Coúrt Rutäs 3.400-3.40-3)
                     Damage/ìy'úrongful Death                           Breach of                   Rental/Lease                                        AntitrusVTrade Regulation (03j
                Uninsured Motorist (46) (¡f the                            Contract (not unlav'lful         detainer                                    Construction Defeðt (10)
                        case rnyolyes an        uninsured                      or wrongful      eviction)                                               Claims lnvolving Mass Íort (40)
                        motorist claim subjecl      to                    Contractm/arranty    Breach-Seller                                            Securities Litigalion (28)
                        arb¡tralion, check this     item                      plaintiff (nol fraud ornegligence)                                        Environmental/Toxic'Tort (30)
                      _ nstead of Auto)
          other PI/PDÍWD (Personal lnjury/
                                                                       Negl¡gent Breach of ContracV                                                     lnsurance Coverage Claims
                                                                               Warranty                                                                      (arising from frovisionally complex
          Property DamageMrongfut Death)                               Other Breactr of Contract/Warranty                                                    case tipe tistled above) (i1)
          Tort                                                    Collections (e.g., money owed, open             Enforcement õf Judgment
                  Asbestos (04)
                                                                       Þook accounts) (09)                             Enforcement ofJudgment (20)
                         Asbestos Property Damage                      Collection Case-Seller Plaintiff                     Abstract of Judg-ment (Òui of
                         Asbestos Personal lnjury/                     Other Promissory Note/Coltections                           County)
                                Wrongful Death                               Case                                           Confessioir of Judgment (non-
                   Product Liability (not asbeslos ot             lnsurance Coverage (not provisionally                            domestic relaions)
                           loxiclenvironmental) (24)                   complex) (18)                                        Sjster State Judgment
                   Medical Malpractice (45)                           Auto Subrogation                                     Administrat¡ve Agency Award
                         Medical Malpractice-                          other coverage                                              (not unpaid laxei)
                                              & Suigeons          Other Contract (37)
                          - Physicians
                         Other    Professional Health Care             Contractual Fraud
                                                                                                                            Petit¡on/Cert¡fication of Entry of
                                                                                                                                   Judgment on Unpaid Táxes
                                Malpractice                            Other Contract Dispute                               Other Eñforcement oi Judgment
                   Other P||PD/ì/VD (23)                      Real Property                                                        Case
                         Premises Liability (e.9., slip           Eminent Domain/lnverse                         Miscellaneous Civil Complaint
                         and fall)                                    Condemnation         (14)                        R|CO (22)
                         lntentional Bodily lnjury/PD/WD         Wrongful Eviction (33)                               Other Complaint (not specif¡ed
                               (e.9., assault, vandalism)        Other Real Property (e.9., quiet t¡tte) (26)              above) (42)
                         lntentional lnfliction of                    Wr¡t of Possession of Real Property                   Declaiaiory Relief Only
                                Emotional Distress                     Mortgage Foreclosure                                 lnjunctive Relief Only [non-
            .            Negligent lnfliction of                       Quiet Title                                                 harassment)
                               Emot¡onal Distress                      Other Real Property (not eminenl                    Mechanics Lien
                         Other PI/PDM/D                               doma¡n, landlord/tenant, or                          Other Commerciat Compla¡nt
         Non-P|/PDÂIVD (Othed Tort                                     foreclosure)                                                Case (non-tort/noniomplex)
                  Business TorVUnfair Business                Unlawful Detainer                                            Other Ciú¡l Complaint
                   _ Practice (07)
                  Civil Rights (e.9., cliscrimination,
                                                                 commerciat (31)                                                  (non-toft/non-òomptex)
                                                                 iìesidential (32)                               li(iscellancous Civit t)etition
                       false arre st) (nof' civil                Drugs (38) (if lhe case involvos illcgal             Partrrership ancl Corporale
                       ltaras-srnenl) (0B)                            drugs, clteck l/ris ilcnr; oihcnuse,                  Govcrnance (21)
                  -
          r;i Dcfamation (e,9,, slander, libel)                       report as Contmercial or Resicienlial)          Other Petition (not specifiecl
                       (13)                                   Judicial lìcview                                             above) (4.$
          I I Fraud (16)                                         Asset Forfeiture (05)                                     Civit Fíaiasiment
                                   Ploperty (19)                 Pelition Re: Arbitration Award (1 )
            1 lntellectual
           -_     Professional l.legligerrce (25)                Writ of Mandate (02)
                                                                                                                           Workptace Viotence
                                                                                                                               '1


                                                                                                                           ElderTDependent Adult
          l--i otlìer  Lcoal lt4alpractice                            Writ-^drnin¡straf ive fuilandamus                           Abuse
                               Prolersiorral fi/Ìalpracticc           Writ--lr4anclamus on l-imitccl Court                 f:lcction Contest
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                   Olhcr Non-Pi/fif)/Vt/D ì'ort (35)                  \¡i/rit--Other l-inrited Court Casc                  l.:-tition for lìclief F¡onr i-ate
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          lt'J. V\/rongful      l crnrin:.(ion (36) Othcr        Olhcr .jucliciat fìevierv (39)                            ()tircr Civil pctition
                      ilr¡rplo),rrrenl (15)                              Iìr:vicv;           c¡f   l.leílth Offìcer Orcief
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            24,                2:19-cv-07833-SVW-JEM Document 17-1 Filed 10/10/19 Page 26 of 45 Page ID
                                                            #:213

 :¿
        SHORT       T!ÌiE'                                                                                                                                    CASE
        GLENDON GROUP, lNC., et al., v. DAVID ZINBERG, et al                                                                                                                                     584854
                                                                                                                                                                                                                                           Ek¡
                                            CIVIL CASE COVER SHEET ADDENDUM AND
                                                                                                                                                                                                                                          €þ
                                                    STATEMENT OF LOCATION                                                                                                                                                                 æ
                             (cERTIFICATE OF GROUNDS FOR ASSTGNMENT TO COURTHOUSE LOCATTON)
                         This form is required pursuant to Local Rule 2.3 in all new civil case fílings in the Los Angeles Superior Court.

            Item l. Check the types of hearing and fill in the estimated length of hearing expected for this case
                  JURY     TRIAL?   fi VTS       CLASS ACTION?             E     YES         LIMITED CASE?                    N       yES rrME ESTTMATED FoR                          rRrAL '10 fl                     Hounsl X onvs

            Item ll. lndicate the correct distr¡ct and courthouse location (4 steps                                                     -   lf you checked "Limited Case", skip to ltem lll, Pg. 4)


                  Step 1! After first cornpleting the Civil Case Cover Sheet form, find the main Civil Case Cover Sheet heading for your
                  case in the left margin below, and, to the right in Column A, tire Civ¡l Case Cover Sheet case type you selected.


                  Step 2:      Check one Superior Court type of action in Column B below which best describes the nature of thts case.


                  Step 3: ln Column C, circlethe reason forthecourtlocation choicgthatappliestothetypeof action you have
                  checked. For any exception to the court location, see Local Rule 2.3.

                                        Applicable Reasons for Choosing Courthouse Location (see Column C below)

                   1. Class act¡ons must be filed in the Stanley Mosk CouÍthouse, central district                                            6. Location of property or permanently garaged vehicle.
                   2. May be filed in central (other county, or no bodily injury/property damage).                                            7. Location where petitioner resides.
                   3. Location where cause of action arose.                                                                                   8. Location wherein defendanUrespondent functions wholly.
                   4. Location where bodily inlury, death or damage occur¡ed.                                                                 9. Locâtion where one or more of the parl¡es reside.
                   5. Location where performance requ¡red or defendant resides.                                                              10. Location of Labor Commissìoner Otfice
                                                                                                                                             1'1 . Mandatory Filing Location (Hub Case)


                  Step 4:      Fill in the information requested on page 4 in ltem lll; complete ltem lV. Sign the declaration.


                                            A                                                                                             B                                                                                    c
                                Civil Case Cover Sheet                                                                         Type of Action                                                                        Applicable
                                      Category No.                                                                            (Check only one)                                                                   Reasons -See Step 3
                                                                                                                                                                                                                       Above

              o-
                                        Auto (22)               f]      nZt OO Motor Vehicle - Personal lnjury/Property DamageÂNrongfut Death                                                                    1.,2.,4.
              :'O
              <F                Uninsured Motorist (46)         !       nZl      tO     Personal lnjury/Property Damagerurongful Death                                         -   Uninsured Motorist            1.,2.,   4.




                                     Asbestos (04)
                                                                I nOozo Asbestos                         Property Damage                                                                                         2-

              .li s                                             Z ¡zzzl Asbestos                         - Personal lnjuryMrongful Death                                                                         2.
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                                  Product L¡ab¡lity (24)        I       AZZOO Frocluct Liability (not asbostos or toxic/environmr:ntal)                                                                          1., 2., 3., 4.,    B.
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       r"=                      Med¡cal Malpract¡ce (45)
                                                                I       nzZtO lledical                Malpractice - Physicians & Surgeons                                                                        1.,4.
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            ig ()                                               I       RzZaO Other Professional Health Care Malpractice                                                                                         1.,4.
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      |--12{o)ot                                                I frzzSO Premises Liability (c.g., slip and falt)
           ñD                                                                                                                                                                                                    1., 4.
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          õË                        Other Personal
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       1- ö r:)                    Darrr!e Wrongful                                    assault, v::ndalisnr, ctc.)
                                       Dcath (23)                                                                                                                                                                r., J,
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                                                                        /t7220         OtlLer f)crson¿rl            I                                                         Ucath                              t.,4.
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              SHORT fITLE:
              GLENDON GROUP, lNC., et al., v DAVID ZINBERG, et al
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                                                         A                                                                                                   B                                                                             c
                                      Civil Case Cover Sheet                                                                                          Type of Action                                                     Applicable
                                            Category No.                                                                                             (Check only one)                                                Reasons -See Step 3
                                                                                                                                                                                                                           Above

                                               Business Tort (07)                              fJ     nOOZS Other Commercial/Business Tort (not fraud/breach of contract)                                            1., 3.

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                  LOI
                  OL                             Civil Rights (08)                             !nOooS                     Civil RightsiDiscrimination                                                                1.,       2.,3.
                  a.'_
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                  F
                  Eo                             Defamation (13)                               fl     nool      o         Defamation (slander/libel)                                                                 1   .,    2.,3
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                  coD                                                                                           s
                                                    Fraud     (1   6)                          f]     nOol                Fraud (no contract)                                                                        1.,2.,3
                  69
                  ãÈ
                  øt-                                                                          n      nOotz               Legal Malpractice                                                                          1.,2.,3.
                  rÉ,
                  cÈ
                                 Professional Negligence (25)
                                                                                               D      AAOSO Other Professional Malpractice (not medical or legal)                                                    1.,2.,3.
                  Oß
                  z.ô                               Other (35)                                 I      neOZS Other Non-Personal lnjury/Property Damage tort                                                          2..3.

                   2
                    (l,            Wrongful Termination (36)                                   !      nOOOz Wrongful Terminat¡on                                                                                     1., 2,, 3.
                    E
                   -9
                    CL                Other Employment ('15)
                                                                                               !      aooz¿               Other Employment Complaint Case                                                            1.,2.,3.
                    E
                   t¡J                                                                         !      ner Og Labor Commissioner Appeals                                                                              10.


                                                                                               !      eooo+ Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                         eviction)
                                                                                                                                                                                                                    2.,5.
                                Breach of ContracU Warranty                                                                                                                                                         2.,5.
                                            (06)                                               E      eoooa Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                                      (nol insurance)                                                                                                                                                               1,, 2., 5,
                                                                                               D      noors Negligent Breach of Contract/Waranty (no fraud)
                                                                                               I      neoza               Other Breach of ConlractM/arrânly (not fraud or negligence)                               1.,2.,5.
                   (,
                   6
                                                                                               D      nOOOZ Collect¡ons Case-seller Plaintiff                                                                       2,, 5.,6,             11
                    c
                   ()o                           Collections (09)                              !      nOOtZ Other Promissory Note/Collections Case                                                                  2.,5,           11

                                                                                               I      nOOS+ Collections Case-Purchased Debt (Charged Off Consumer Debt                                              5,6, f1
                                                                                                            Purchased on or after January 1, 2014)

                                     lnsurance Coverage                 (1   8)                !      nOOt      S        lnsurance Coverage (not complex)                                                           L, 2., 5., 8.

                                                                                               I      nOOOS Contractual Fraud                                                                                       1., 2., 3., 5.
                                               Other Conkact (37)
                                                                                               X      nOOSt Tortious lnterference                                                                                   t,@t,s
                                                                                               n      AOOZZ Other Contract Dispute(not breach/insurance/fraud/negligence)                                           1., 2., 3., 8.

                                     Eminent Domain/lnverse
                                       Condemnation (14)                                       fl     AZSOO Eminent                    Domain/Condemnation                 Number of parcels
                   >l
                   t
                   <rt                Wrongful Eviction (33)                                   f      AOOZ¡ Wrongful Ev¡ction Case                                                                                  2., 6,
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                                                                                               !      noot      g        Mortgâge Forectosure                                                                       1,,       tJ.
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                                     Olher f'(cal Propeny (26)
                                                                                               I      nsosz              euiet rrile                                                                                2.,6

        iî'                                                                                    f]     AOOOCI Other Real Irroperty (not em¡nent domain, landlord/tenant, foreclosure)                                2.,6.
                               Unlar,,¡lul Dctainer-Commercial
                   ó,
                   È                                   (31)                                    I      aOOZt Unlarvful Detainer-Commercìal (not drugs                         or wrongful evicf ion)                 2.,6.
        ,6
                ç               Un   lav¡ful Dela iner-Re sidentia                I

        i'.,.1 ,l                                      (32)                                Ü          nOOzO tJnlawlul Dctainer-Re sioential (not círugs or                      v,,ronglLrl eviction)               2,,6
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                   (ú                    l:r   osl-Forcclcrs   u   re                      l*]        r-,,Ooz   O   tt   l.J   nlar,víul Dctai n; r-Post-ForeclosuÍe                                               1.,     t)
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                                Un l¡;r¡¡fu I D0iaìner-Drugsi (:18)                        l)         t',aOzZ            LJntav.ríut Dotainer-Drugs                                                                2.,6

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           SHORT TITLEi
                                                                                    w                                                                        cnsr ¡rìfi|ãen
            GLENDON GROUP, lNC,, et al., v. DAVID ZINBERG, et al


                                                            A                                                                                     B                                                                                   c
                                                Civil Case Cover Sheet                                                                     Type of Action                                                             Applicable
                                                      Category No.                                                                        (Check only one)                                                        Reasons -See Step 3
                                                                                                                                                                                                                        Above
                                                  Asset Forfe¡ture (05)             n    nOtoa Asset Forfeiture                        Case                                                                      2.,6.

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                          d,
                                            Petit¡on re Arbitration (11)            fl   aOl       t   S   Pet¡t¡on to CompeuConfìrm^y'acate Arb¡tration                                                         2.,5.
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                        u                                                           Ü    nOl   s       t   Writ - Administrative Mandamus                                                                        2.,8.
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                                                  Writ of Mandate (02)              fl   nOt   Sz          Writ - Mandamus on Lim¡ted Court Case Matter                                                          2.

                        I=                                                          I    nOt   s¡          Writ - orher Limited Court Case Review                                                                2.


                                           Other Judicial Review (39)               ! notso Other WriUJudicial                           Review                                                                  2., 8.


                          e             Antitrust/Trade Regulation (03)             InOOOS                 Antitrust/Trade Regulation                                                                            't.,2.,8.
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                         ttt                    Construction Defect       (1   0)   fJ   nOooz Construction Defect                                                                                               I .. 2.. 3.
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                        -)x                Claims lnvolving Mass Tort
                        Io.                           (40)                          I    AOOOO Claims lnvolving Mass Tort                                                                                        1.. 2.. 8.
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                        ()o                     Securities Litigation (28)          fl   nOOSS Securities Litigat¡on Case                                                                                        1., 2., 8.
                        à a!
                          co                          Toxic Tort
                                                  Environmental (30)                !    aoO¡O Toxic TorUEnvironmental                                                                                           1.,2.,3.,        I
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                        "ø                lnsurance Coverage Claims
                        fL                  from Complex Case (41)                  I    nOOt+ lnsurance Coverage/Subrogation (complex case only)                                                                1., 2., 5.,      B



                                                                                    flnor+r                Sister State Judgment                                                                                 2.,9.
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                    6.' OJ
                                                                                    !    noroo Abstract of Judgment                                                                                              2.,6.
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                    orÐ
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                                                     Enforcement                    !    noroz Confession of Judgment (non-domestic relations)                                                                   2.,   L
                                                   of Judgment (20)                 flnot¿o                Administrative Agency Award (not unpaid taxes)                                                       2.,8.
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                    Es
                   tuo                                                              I    nor r¿ Petit¡on/Cerlificate for Entry of Judgment on Unpaid Tax                                                        2.,8.
                                                                                    n    nor rz Other Enforcement of Judgment Case                                                                              2.. 8.. 9.



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                               Ø
                                                       Rrco (27)                    I    nOOSS Racketeering (RICO) Case                                                                                          1.,2.,8.
                    OG
                    9E-                                                             f]   nOO¡O Declaratory Relief Only                                                                                           1   ,,2.,   B.
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                   Nt
                                                Other Complaints                    fJ   nOOAO lnjunctive Relief Only (not domest¡c/harassment)                                                                 2.,8.
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                   Ø=                      (Not Specified Above) (42)
                                                                                    fl   ngOl          1   Other Commercial Complaint Case (non-torVnon-comptex)
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                   *(J                                                                                                                                                                                          1,, 2.,      B.

                                                                                    n    nOOOO Other Civil Complaint (non{orunon-comptex)                                                                       1.,2., L

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                                                   Governance (2     î)             l]   nOt I         ¡   Parlners:hip and Corporâte Govcrnanoe Case                                                           2.,    B.


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                          f-L                        Otlrcr l''etitions             []   not   Za          Eldcf/D?pcnoent Adult Abuse C¿sc                                                                     2., 3.,      L
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                                                           -
        GLENDON GROUP, lNC., et al., v. DAVID ZINBERG, et al.


         Item lll. Statement of Location: Enter the address of the accldent, party's residence or place of business, performance, or other
         circumstance indicated in ltem tt., Step 3 on Page 1, as the proper reason for filing in the court location you selected.

                                                                                      ¡oonebs:
           REASON: Check the appropriate boxes for the numbers shown                   10866 Wilshire Blvd, Suite 500
           under Column C for the type of act¡on that you have selected lor
           this case.

               f,t       Xz ns !¿. f,s !0. nz. !a. ns. [ro.                   nl
          ctry:                                            STATE:       ZIP CODE:
           Los Angeles                                     CA           90024


         Item lV, Declaralion of AssÌgnmentr I declare under penalty of perjury under the laws of the State of California that the foregoing is true
         and correcl and that the above-enlitled matter is properly filed for assignment to the        Stan      Mosk             courthouse in the
         Central                             District of the Superior Court of California, County of Los Angeles [Code Civ. Pr:oc., $ 392 et seq., and Local
         Rule 2.3, subd.(a)




         Dated: June 12              201 5
                                                                                                      (SIGNATURE
                                                                                                      Alex M. Weingarten, Esq


         PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
         COMMENCE YOUR NEW COURT CASE:

                 1.       Original Complaint or Petition.

                 2. lf filing a Complaint, a completed Summons form for issuance by the Clerk.
                 3. Civil Case Cover Sheet, JudicialCouncilform CM-O10.
                 4, Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
                          03/1 5).

                 5        Payment in full of the filing fee, unless fees have been waived

                 6.       A signed order appointing the Guardian ad Litem, Judicial Council form CIV-O10, if the plaintiff or petitioner is a
                          minor under 1B years of age will be required by Court in order to issue a summons.

                 7   .    Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
                          must be served along with the summons and complaint, or other initiating pleading in the case.


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         LACIV 109 (Rev. 03/15)
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                     Approved 03"0a                                                                                                                4ol    4
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          EXHIBIT 3
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                                                                                               ORIGINAL &
                                         I   PARKER MILLS LLP
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                                         2   parker@parkennillsl lp, com
                                             JoelA. Osman (SBN 106549)
                                             osman@parkenni I lsllp. com
                                         J
                                             Mark T, Hiraide (SBN I17868)                                                             **.m&Rn*"
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                                         4   hiraide@parkerrnillsllp.com
                                             800 W. 6th Street, Suite 500
                                                                                                                                             JAN OB           ZO1E
                                         5   Los Angeles, California 90017
                                             Telephone: (213) 622-444 I
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                                                                                                                                 ShcGÍ ¡(.                                 ClÊf,k

                                         6   Facsimi le: (213) 622-1444

                                         7   Attorneys for Defendant
                                             DA\TID ZINBERG,
                                         I
                                         9                                  SUPERIOR COURT OF THE STATE Oþ'CALIFORNIA

                                        l0                                   COLINTY OF LOS ANGELES, CENTRAL DISTRICT

                                        ll
                                        12   GLENDON GROUP,INC. a Delaware                                                       Case No. 8C584852
                                             corporation, and SALUS CAPITAL
                                        l3   PARTNERS,LLC, a Delaware limited                                                    Judge                         I{on. Mark V. Mooney
                                             liability company,                                                                  Dept.r                        oö
                                        T4
                                                                                                                                 DEFENDANT DAVID ZINBERG'S
                                        15
                                                                   Plaintiffs,
                                                                                                                                 ANS\ryER TO PLAINTIFFS'
                                                                                                                                 COMPLAINT
                                        16

                                        t7   DAVID ZINBERG, an individual, and LEON                                              Filing Date                   June 12,2015
                                             KUPERIvIAN, an individual,                                                          Trial Date:                   None
                                        t8
                                                                  Defendants.
                                    19

                                   20

                                   21                      Defendant     ÐAVID ZINBEtrlG,                      an individual ("Defendant"), hereby answers Plaintiffs

           i,t
                                   ')"',     Gtr     lfNllo'N GF;ÛUP,If-lC,              ancl CL['IT1"tr,11.¿'"].Tllt,lEl-tS] T.l-C                         (collectively,"ttrfrËg'#
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                                                                        o                                                             o
                                          I                2.   As separate and distinct affinnative clefcndants to Plaintiffs' unverified Complaint

                                          2   and the causes of action alleged therein, Defendant alleges the following:

                                          3                                            F''ÏRST AF'F'TRM                        DEFENSE

                                          4                                                      (Statute of Limitations)

                                          5                3.   Defendant alleges that Plaintiffs' claims are barred by the statute of limitations.

                                          6                                          SECOND AFFIRMATIVE DEFENSE

                                          I                                                    (Failure to State a Claim)

                                          I                4.   The Complaint, and every cause of action there, fails to state facts sufflrcient to

                                          9   constitute a claim or cause of action against Defendant.

                                    10                                                THIRD AFFIRMATIVE DEFENSE
                                    ll                                                               (Statute of Frauds)

                                    t2            .        5,   To the extent the Complaint contains causes of action related to a contract, such

                                    l3        causes of action are barred by the provisions of Civit Code section 1624'.

                                    l4                                               F'OURTH                         ATIVE DEFENSE
                                    15                                                      (Excuse for Nonperform ance)

                                    l6                     6.   To the extent Defendant engaged in any of the acts alleged in the Complaint, such

                                    t7 acts were excused.
                                    t8                                                 FIFTH AFFIRMATIVE DEFENSE
                                    19                                                              (Full Performance)

                                    20                     7.   Defendant has appropriately, completely, and fully performed and discharged any

                                    2l        and all obligations ancl legal dutics arising out of the matters alleged in the Complaint,


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            Fj.                     23                                                           (Complairrú Ur; certain)

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                                    24                     8.   Plaintiffs are barrcd from recovery against Defendant Lecause the Courplaint, ancl
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                                                                            o                                                 o
                                         I                                           SEVENTH AFFIRMATIVE DEFENSE

                                         2                                                        (Lack of Damage)

                                         3                   9.       Plaintifis are barred from recovery by Defendant because Plaintiffs have suffered

                                         4   no actual damage by virtue of any acts, events, or occurrences alleged in Plaintiffs' Complaint,

                                         5   whether or not attributable to Defendant.

                                         6                                            EIGHTH ÄFFIRMATIVE DEFENSE
                                         7                                                 (Failure to Mitigate Damages)

                                         I                   10.      Plaintifß are barred fi'om recovering any and all damages due to Plaintiffs' failure

                                         9   to exercise reasonable care and diligence, and/or take reasonable steps to avoìd, eliminate, lessen,

                                        l0   reduce, and/or mitigate any purported damages

                                        l1                                             NINTH AF'FIRMATIVE DEFENSE
                                        t2                                                   (Consent and Ratification)

                                        13                   I   l.   Plaintiffs are barred from pursuing the claims set forth in the Complaint by virtue

                                        14   of the fact that Plaintiffs had knowledge of, approved of, consented to, and/or ratifred each and

                                        15   every act, transaction, or event contemplated by Defendant.

                                        16                                            TEI-YT"H AFFTRM^IITIVE Dp FEN SB

                                        17                                                (Plaintiffs' Breach of Contract)
                                        18                   12.      Plaintiffs are barred fronr recovery against Defendant because Plaintiffs breached

                                        t9   the terms of the contract under which Plaintiffs now claim as the basis for all causes of action

                                        20   contained in the Complaint,

                                        zl                                          ELEVENT4I AFFTRMATTVE DEFENSE
                                        22                                                      @aÍ[ure    Éo    Ferforrn]
                                        23                   13.      Flaintiffs are barrecl fronr recovery against Defenrlant because Plaintiffs failed to

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                                        24   fully perfbrm the tenns of the contra.t und*r. u,hich Plaintiffs now clainr as the basis fo¡ all                    causes
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                                                                          0                                                                             o
                                     I                                                     TWELFTH AFFIRMATIVE DEFENSE
                                  2                                                                                      (Waiver)

                                  J                    14.        Plaintiffs have waived any right or rights they have or may have had to assefi any

                                  4      or all claims and/or causes of action alleged in the Courplaint against Defendant and are barred

                                   5     from recovery against Defendant as a result.of their o\¡/n acts, conduct, andior omissions,

                                  6                                                 THIRTEENTH AFFIRMATIVE DEFENSE
                                  7                                                                        (No Punitive Damages)

                                  I                    15.        The Complaint fails to set forth facts sufficient to constitute a claim for punitive

                                  9      ancl/or treble darnages,

                                l0                                                  FOURTEDNTII AFFIRMATIVE DEFENSE
                                1l                                                             (Comparative Fault of Plaintiffs)

                                t2                     16.        Plaintiffs' claims are barred, in whole or in part, because Plaintiffs' alleged injuries

                                13       and damages,         if any, are the direct and proximate result of Plaintiffs' own fault                                                    or negligence.

                                14                                                    FIF'TEENTH AFFIRMATIVE DEFENSE
                                15                                                              (Comparative Fault of Others)

                                l6                     17.        Plaintiffs' claims are barred, in whole or in paú, because Plaintiffs' alleged injuries

                                l7       and damages,         if any, were wither wholly or partially caused by the fault or negligence of other

                                18       persons, firrns, corporations, or entities.

                                l9                                                    SIXTE,E,NTH AFFIRM,ATIVE DBFENSE

                                20                                                                        (Assum¡rtion of ttrri Rist<¡

                                2t                     18.        Plaintiffs' clairns ale ban'ed, in whole or in part, bccause Plaintiffs acted wirh full

                                         lrnou,ledge of the làets and circunrsta-ncçs sunounding Plaintifß' allegecl injuries,                                                             if   an¡,, ancl thns,

                                23       Plainliffs' assumed anl,anrl all risks of the injuries                                      ancl clamages           lllair,tiffs now claim they
                                24       incull:d.

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                                                                          Ð                                                                      a
                                         1   or omission of Defendant â contributing cause of the damages allegedly- incuned by Plaintiffs, and

                                         2   any alleged acts or omissions of Defendant were superseded by the acts of other persons, films,

                                         3   corporations, or entities, ,uvhich were independeut, intervening, and proximate causes of any and

                                         4   all injuries sustained by Plaintiffs.

                                         5                                         PIçHTEENTH AFF'IRMATIVE DEFENSE
                                         6                                                              (Concluct of Others)

                                         7             20.       Plaintiffs' claims are baned, in whole or ín part, because Plaintiffs' alleged
                                       ,8
                                             damages,      if any, were       cause by persons other than Defendant for whom Defendant is not

                                         I   responsible.

                                       10                                                                      AFFIRMATIVE
                                       11                                                               (Lack of Causation)
                                       t2             ?1.        Plaintiffs' claims are barred, in whole or in par"t, because Plaintiffs' alleged

                                      13     damages,      if any,   wet'e not actually and proximately caused by any acts, conduct, or omissions                                                           of
                                      t4     Defendant.

                                      15                                            T\ryBNTIETH AFFIRMATIVE DEF'ENSE
                                       16                                                                   (Lack of Intent)

                                      17              22.        Plaintifß' claims arc ban'ed, in whole or in part, because of the lack of intent on the

                                      l8 parl of Defendant.

                                      19                                         TWE}ITY-FIRST AFFJRMATIVE DEFENS-Ð
                                      20                                                                 (Lack of fdeliance)
                                      2t              23.        Plaintiffls claims arc barred, in rvhole or in part, because Plaintiffs did not rely on

                                      2,2    any statements ol omissions by Defbnclarlt.

                                      23                                      TWi¿NTV-SÌlCOt\l& Alr                                      'FI\iE l]Ì1lìiìl{Sìl
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                                      /-"a                                                                        (Equi8)
              L.i.
                                      25              24.        Plaintiffs are bârred fi'oln recovery as a. matter of equity, as the circumstânces were

                                      26     such tliat    Plairitiffs' losses, if any,          r,,,ere the result         of   ¿;cts   liaving notlting                1o do n,ith Dcfenclant.

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                                                                          o                                                             o
                                         1                                      T\ilE,NTV                                                 DEFENSE
                                     2                                                                        (Laches)

                                     J                     25.     Plaintiffs   zue barred    from recovery against Defendant by the doctrine of laches

                                     4           because the unreasonable delay that PlJintiffs allowed in bringing this action has caused

                                     5           Defendant undue prejudice.

                                     6                                       TWENTY-F'OURTH AFFIRMATIVE DEFPNSE
                                     7                                                                    (Estoppel)

                                     I                     26.    Plaintiffs are estopped fi'om asserting all or any part of the claims and/or causes of

                                     9           action alleged in the Complaint against Defendants as a result of their own acts, conduct, and/or

                                  10             admissions.

                                  il                                            T.IVENTY-FIFTH AFFIRMATIVE DEFENSE
                                  T2                                                                  (Unclean Han¿s)
                                                                                                                                                                              )
                                  13                       77.    Plaintiffs are barred from recovery against Defendant by the doctrine of unclean

                                  T4         hzurds       with respect to the matters alleged in the Complaint.

                                  15                                           TWENII(-STXTH AFFTRM ATry_E pEF ENSE
                                  16                                                          (In   d em ni    tyiCon t ri bu ti on)

                                  17                       28.    In the event Defendant is held liable, Plaintiffs arc entitled to                           a percentage

                                  r8         contribution of the total liability from persons, firms, corporations and/or entities other than

                                  19         Defendant in accordance with the principles of indemnity and comparative contribution.

                                 20                                         TWENTV-SEVENTII AFFTRMATJVE DEF,ENSE
                                 2t                                                                           (Offset)

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                                 22                        29.    Plaintiffs'   clamages,     if   any, are reduced under the cloctrine of offset for fees, costs,l
         '-    J,                ¿J          or paynents made b1, the tortfeasor or carrier to Plaintiff.

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         t;.                     ¿J                       30.     lJef'endant reserve s thc right to amcnd this Answer heiein, incluciing the addition                               of
                                 26          affimratir,e defenses, upon further'¡:articularization of Plaintiffs' clairirs, in the even än additional
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                                                                                 Ð                                                                      o
                                      1           .     WHEREFORE, Defendant requests that judgment be entered against Plaintiffs and in

                                      2       favor of Defendant as follows:'

                                      J                 1.        That Plainliffs take nothing by way of the Complaint;

                                      4                 2.        That Defendant recover his costs of suit; and

                                      5                 3.        For such other relief as the Courl deems just and proper.

                                      6       DATED: January              8,2016                                       PARKER MILLS LLp
                                      7

                                      I                                                                                By
                                     9                                                                                                      Joel A. Osman
                                                                                                                                      Mark T. Hiraide
                                 10                                                                                             Attomeys for Defendant
                                                                                                                                DAVID ZINBERG
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                                    I                                                            . PROOF OF SERVICE
                                    2        STATE OF CALIFORNIA, COUNTY OF LOS.A.NGELES

                                    J                At the time of service, I lvas over 1 8 years of age and not a parfy to this action. I am
                                             employed in the County of Los Angeles, State of Califomia. My busine-s! address is 800 W.6th
                                    4        Street, Suite 500, Los Angeles, CA 90017.

                                    5            On Jarluary 8, 2016, I served true copies of the following document(s) described as
                                             DEFENDANT DAVID ZINBERG'S ANSWER TO PLAINTIFFS' COMPLAINT on the
                                    6        interested parties in this action as follows:

                                   '7        Alex M. Weingarten, Esq.                                                     Attorneys for Plaintiffs GLENDON GROUP,
                                             MicolS. Green, Esq.                                                          INC. and SALUS CAPITAL PARTNERS, LLC
                                    I        Matthew M. Gurvitz, Esq.                                                     Telephone: (3 I 0) 229-9900
                                             Venable LLP                                                                  Facsimile: (3 I 0) 229-990 I
                                    I        2049 Centu¡y Park East, Suite 2100                                           E-mail : aweingarten@venablq.qani;
                                             Los Angeles, CA 90067                                                                m gre gu_@.venabl e.con ;
                                  l0                                                                                                     mgurvitz@venable.com

                                  ll
                                                       BY   MAIL:       I enclosed the document(s) in a sealed envelope or package addressed to the
                                  t2         pers,ons at the addresses listed in the Service Líst and placed the envelope foiõolleclioi and
                                             mailing, following our. ordinary business practices. I ãm readily familiá¡ with 's practice for
                                  l3 collecting and processing corresponderrge for malling, On the iame day that theìonespondence is
                                     placedfor collection and mailiug, it is deposited in the ordinary course of business witli the Uriited
                                  t4 States Postal Service, in a sealed envelope with postage fully frepaid.

                                  l5                   I declare under penalty of perjury under the laws of the State of Califomía that the
                                         foregoing is true and correct.
                                 t6
                                                       Executed on January 8, 2016, at Los Angeles, Califomia.
                                 l7
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         E.MArr ÀûÞf ìÉss:        ivalle@vallemakotf.com                                                                                                                      FILEÞ
        AlTonNEy Fon{À,røe!             Plaintiff Salus Capital Partners, LLC                                                                                    suoerior court of california
                                                                                                                                                                   Öounty of Los Angeles
         gUPERIOR COURT OF CAtlËORNlA, COUNTY OF Los Angeles
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                                                                                                                                  -"<ulff                                                             Deputy
                     Plainliff/Pêtitioner: GLENDON GROUP, lNC., et al.
         DefendantiRespondenl;                       DAVID ZINBÊRG, et           ã1.
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         A conformed copy                      will not be refurned by the clerk unlsss a method ôf rôturn ls provlded                                                   document
         Thls form may not be used for dlsmissal of e derlvatlve actlon or a class action or of any party                                                                                             a
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                           E CLERK: Please                            this             âs      ows:
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               þ. (1) f-l Complaint (2) [-l] Petì(ion
                  (3) T*-l Cross-complaint fìled by (name):                                                                                             on (dafe):
                  (4) tl-l Cross-complalnt filed by (name):                                                                                             on (dale):
                  (5) f--l Enlire action of all parties and all causes of âction
                  (6) | _.Fl other (spec¡fy);. As to Ealus Capital Pertners,     LLC onfy
        2.     (Conplele ¡n a/l cases excÊpt femily law cases.)
               The court         [--l
                                 did    x   did not waive court feos ånd costs for a paÌty                                                           (This infornation tnay be oþtaíned                from the
               cleß. lf couft leÊs and cosfs were waived, the declaration on the bac( of                                                                complÊted).
        Dale; Novembet 21,201õ
               Valle
        {fYPÊ OR PRIM NAÄ,IE OF                        AITORNEY              PÂRTY lMTHOUl ATTORNEY)

        'lf dismlsssl requÉsted i 0 of 3peoilied parlioe only ol Sp€êllied câuses 6f action oñly,                                    ey   0f       without
        or of sÞecilíed crogs-compla¡flts oÃly, so stale and idenlify the padrês, è3uses ol                                                                                   ndanURespondent
        açl¡o¡, or crûss.cÐmpla¡nls to þê dismlssed,
                                                                                                                                               Compla¡nânt

        3.     TO THE CLERKT Consent to the above dismissal is hereby given."'
        Date:
                                                                                                                             þ
        IIYPE OR PRINT NAME OF                        AffORNËY               PARTY   \¡'f   HOUT AIIORNEY)                                                   (SIGNATUffE}

        "  ll a cross.cornplajnl, * or Response (Fam¡ly Lr.w) sÉèk¡ng Éfirmatlvô                                             Attorney or party without attorney for:
        rßlief i9 on lile. l¡e altorney lor crNs-æmp1áif,ânl (rè$pondent) muÉt sign
                -
        this consent il rÊqulred by Code ol Civil Frocedufs $ection 581 (l) or (J).
                                                                                                                             f--l  Plalntiff/Petitioner        f-*l
                                                                                                                                                                DefendanURespondent
                                                                                                                             f--.l cross Complainant

        (To     fse   completed by clork)                                                             f              f   "
        4,
               hãì      Dismissal entered as requested on                       ldalê/; / f          lps /t,6
               V3         Disrnissal entered            on      (date):                          i         as   '        to only (namol.
        6.     fl         Dísmissal not ðntered as requested for the following reasons (spocify):


              t-r
        Z.    ¡a. L_J Attorncy                    or parly vritlrout at[orney rìotìl]ed on (dato);
                                                                                                                                                                         t{' cARTElr
                                                                                                                                                        SþìËRRI
              ¿9 t: Attorney                      or pâr1y v/lthaut attorney not notiliecl, Filing party failed to provide
              tsJ                          ä           to t¡o   confornlcd           T:        means to return coflformed
        Date:                                                                     Clerk, lry                                                                                        Deputy                p¡so I or ?
                            lor        ior/ Uso                                                                                                                  Çodo ol CMI PrMcdue, g 501 ct scq,: cov Codo,
        ,l!'crlÊl,ll Ccen.il ol C¿lifc{n¡l                                                  RtiGUl:ÊT Ë0r( nlSMlS$,4 L                                                 I e3S37(c); Cul. ftulos oJ Courl, ruls 3'1390
        cìr\^f 10 lRov. J¡rì. f , ?0131                                                                                                                                                          tvrn./.c0uñ3.t¡.lJ4v




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                                                                                                          Page 41                         Exhibit 4
                                                                                                                             Doc# L Page# 1 - Doc ID = 1684110872 - Doc T)pe =                                 REQITEST FOR DISMISSAL
(Page   2 of   Case
                3)  2:19-cv-07833-SVW-JEM Document 17-1 Filed 10/10/19 Page 43 of 45 Page ID
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                        Plaintiff/Petitionor: GLENOON GRQUP, lNC,, et al,
                                                                                                                                                   Ð
                                                                                                                                                     CASE NUMBER:
                                                                                                                                                                                        ctv"110

                                                                                                                                                     BC5B4B52
           DefendanURespondenl; DAVÍ D                      Zf   NBERG, et al.




                                                          COURT'S RECOVERY OF WAIVËD COURT FEES AND COSTS
                                  lf a party whose coud fees ând costs wsre ínitially wàived has recovered or wlll reÇover $10,000 or more in
                                  value by way of settlement, comprornise, arbilration award, medialíon settlement, or other meäns, the
                                  court has å statutory lien on that recovery. The rourt may refuse to dismiss the case unlil thB lisn is
                                  sâtisfíed. (Gov. Code, $ 68637.)



                                                                        Declaration Concernlng Waived Court Fees
          1.    The coun wâìved courl fees and costs in this action lor (name):

          2.    The person n€med in item 1 is (check one below):
                â.               not recovering anything of value by this action,
                b.               rêcoverlng lêss than $10,000 in value by this action.
                c.               recovering $ 1 0,000 or rnoÍe ¡n value by this action, (ff ¡tam 2c ¡s checkad,lfern 3 musf Òe compleled.)
          3.   ll''1 Al court fees and courl ôosts that were waived in this action have been paid to the court (chock one);                                                   yes              No

          I declare under penalty ol perjury under the lawg of the State of                                   Calilqrflia that lhe informatìon above is true and corrêct.

          Date;

                                                                                                                         Þ
          (TypË oß pßt{r N^Mr          o¡       f--l   ATToRNEv   lll     ennrv   rvnr<rNo   oEcrAßAloN]                                                    (SIGNATURE)




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              3)  2:19-cv-07833-SVW-JEM Document 17-1 Filed 10/10/19 Page 44 of 45 Page ID
                                               #:231

                                                          *                                                Ð
                            I                                                 PROOa OF SERVIçE
                           2            I declare that I aln over the age of eighteen years and that I arn not a party to this action
                                I   zun an employee of Valle Makoff LLP, and my business address is I 191I San Vicente Blvd.,
                           3    Suite 324, Los Angeles, California 90049,

                           4                 O1 tn. date set lbrtlt below,   I seled   the following document(s) described as follows:
                                        ..
                           5                                           REQUEST FOR DISMTSSAL
                           6    on the interested parties in this action by placing â true copy thereofenclosed in a sealed
                                envelope addressed as follows:
                           7

                           I        Daniella S. Zinberg Esq,                                 Lawrence C. Ecoff
                                    5825 fjonna Ave,                                         Alberto J. Campain
                           I        Tarzåna, CA 91356
                                    Aútorneys for Defcndant David Zinberg
                                                                                             EcoffLandsberg, LLP
                                                                                             280 South lSeverly Drive, Suite 504
                      l0                                                                     Beverly l{ills, CA 90212
                                                                                             Attorncys for Dcfendant Leon
                      I1                                                                     Kuperman

                     t2

                     IJ

                     l4         tr       ßY MAIL; I am readily familiar with the firm's practice for the collection and
                                         processing of correspondence for rnailing with the United Sfates Postal Service and the
                     ls                  fact that the correspondençe would be deposited with the United States Postal Sel'vice
                                         that same day in the ordinary couïse of business; on this date, tlie abovc-referenced
                     t6                  document was placed for deposit af I¡s Angeles, California and placed for collection
                                         and delively following ordìnary business practices.
                     t7
                                E        $fAfE) I declzue under penalty of perjury under the laws of the $tatc of Califomia
                     t8                  that the foregoing is true and correct.

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                     ))                      Executecl on November 23,2016, at Los

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